 Case 3:15-md-02670-JLS-MDD Document 1348 Filed 08/21/18 PageID.92717 Page 1 of 4


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 6                           UNITED STATES DISTRICT COURT
 7                         SOUTHERN DISTRICT OF CALIFORNIA
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 9   IN RE: PACKAGED SEAFOOD                          Case No.: 15-MD-2670 JLS (MDD)
10   PRODUCTS ANTITRUST LITIGATION
                                                      ORDER OVERRULING
11                                                    OBJECTION
12                                                    (ECF No. 1322)
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15         On August 8, 2018, the parties filed a joint motion for the Court to clarify certain
16   applications of the Third Limited Stay of Discovery order, (ECF No. 1320). The same day,
17   Defendant Christopher Lischewski filed an opposition to the joint motion, (ECF No. 1322).
18   The Court requested a response to Mr. Lischewski’s opposition from the Department of
19   Justice (“DOJ”), (ECF No. 1323). The Court then granted the joint motion, but noted that
20   it would rule on Mr. Lischewski’s objection after receiving DOJ’s response. (Id. at 4.)
21         On August 17, 2018, the DOJ filed a response maintaining that the discovery stay
22   should apply to Mr. Lischewski. (ECF No. 1344, at 1.) Mr. Lischewski then filed a reply
23   to the DOJ’s response. (ECF No. 1347.) The Court briefly summarizes the arguments as
24   follows. Mr. Lischewski asserts that he was not a party to the stipulations concerning
25   discovery stays and he would suffer severe prejudice if required to comply with the partial
26   discovery stay. (ECF No. 1322, at 3–4.) This prejudice stems, in part, from the November
27   27, 2018 discovery cutoff date. (Id. at 3.) If Mr. Lischewski remains a defendant in the
28   MDL then he will need to exercise his basic right to obtain discovery to nonprivileged

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                                                                             15-MD-2670 JLS (MDD)
 Case 3:15-md-02670-JLS-MDD Document 1348 Filed 08/21/18 PageID.92718 Page 2 of 4


 1   matters relevant to his defense. (See id. at 4–5.)
 2         The DOJ takes the position that the even though the limited discovery order
 3   approved a stipulation that Mr. Lischewski was not a party to, it was an order that applies
 4   to the entire multi-district litigation (“MDL”). (ECF No. 1344, at 1.) The DOJ points out
 5   that the Court entered a scheduling order, (ECF No. 877), that approved also a joint
 6   stipulation of the parties. That scheduling order includes the November 27, 2018 discovery
 7   cutoff date, which presumably will prejudice Mr. Lischewski. If the Court were to
 8   determine that the stipulated discovery stay did not apply to Mr. Lischewski, then by the
 9   same logic the stipulated scheduling order would likewise not apply to him, which would
10   undercut the prejudice against Mr. Lischewski posed by the November discovery cutoff.
11   (See ECF No. 1344, at 2.) Mr. Lischewski responds a party cannot be bound by a
12   stipulation entered into in the absence of that party. (ECF No. 1347, at 2 (citing, e.g.,
13   Kneeland v. Luce, 141 U.S. 437, 440–41 (1891)).)
14         “Courts have discretion to stay civil proceedings where the interests of justice appear
15   to require it.” Baker v. SeaWorld Entm’t, Inc., No. 14-CV-2129-MMA (AGS), 2017 WL
16   6059121, at *2 (S.D. Cal. Dec. 7, 2017) (citing Keating v. Office of Thrift Supervision, 45
17   F.3d 322, 324 (9th Cir.), cert. denied, 516 U.S. 827 (1995)).
18                In determining whether to stay civil proceedings in the face of
                  parallel criminal proceedings, a court must consider the
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                  particular circumstances and competing interests involved, and
20                should consider (1) the extent to which the defendant’s Fifth
                  Amendment rights are implicated, (2) the interest of the plaintiffs
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                  in proceeding expeditiously, (3) the burden the proceedings may
22                impose on the defendants, (4) the convenience of the court and
                  the efficient use of judicial resources, (5) the interests of persons
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                  not parties to the civil litigation, and (6) the interest of the public
24                in the pending civil and criminal litigation.
25   S.E.C. v. Glob. Express Capital Real Estate Inv. Fund, I, LLC, 289 Fed. App’x 183, 190–
26   91 (9th Cir. 2008) (unpublished decision) (citing Keating, 45 F.3d at 324–25). The case
27   for staying civil proceedings is ‘a far weaker one’ when ‘[n]o indictment has been
28   returned[, and] no Fifth Amendment privilege is threatened.’” Fed. Sav. & Loan Ins. Corp.

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                                                                                  15-MD-2670 JLS (MDD)
 Case 3:15-md-02670-JLS-MDD Document 1348 Filed 08/21/18 PageID.92719 Page 3 of 4


 1   v. Molinaro, 889 F.2d 899, 903 (9th Cir. 1989) (alterations in original) (quoting Sec. &
 2   Exch. Comm’n v. Dresser Indus., 628 F.2d 1368, 1375 (D.C. Cir.), cert. denied, 449 U.S.
 3   993 (1980)).
 4         Applying these factors, the limited discovery stay order was and remains appropriate
 5   for all parties. First, the civil and criminal proceedings involve the same or closely related
 6   facts and questions, which when posed to witnesses could potentially implicate their Fifth
 7   Amendment privilege. See Four in One Co. v. SK Foods, L.P., No. CIV S-08-3017 MCE
 8   EFB, 2010 WL 4718751, at *5 (E.D. Cal. Nov. 12, 2010) (collecting cases). Indeed, the
 9   parties have represented to the Court that such issues are ongoing. (See ECF No. 1306, at
10   15–19.) Second, the plaintiffs in this MDL have stipulated to the limited stay. Third, Mr.
11   Lischewski argues that the discovery stay would impose burdens on him. This is true,
12   however, the burdens are applied equally to all parties. Fourth, the convenience of the
13   Court in managing the MDL militates in favor of applying orders uniformly to all parties
14   rather than carving out particular exceptions for individuals. Exempting one party from
15   the generally applicable discovery stay order is unfair to every other party and creates an
16   unfair advantage for Mr. Lischewski. See Quesada v. City of Antioch, No. C 08-1567 JL,
17   2008 WL 4104339, at *4 (N.D. Cal. Aug. 29, 2008) (“Only a complete stay of this entire
18   action as to all Plaintiffs will suffice to preserve the status quo as to all parties, including
19   the Defendants, and prevent unfair prejudice against Defendants.” (emphasis added)).
20           Finally, there is no obvious impact on persons not parties to the civil litigation and
21   the interest of the public weighs in favor of a limited stay. See Bureerong v. Uvawas, 167
22   F.R.D. 83, 87 (C.D. Cal. 1996) (“A stay of discovery will protect the integrity of the
23   Government’s investigation and ensure that the Defendants will not use the civil discovery
24   processes to obtain discovery ‘that is not authorized in a criminal case.’” (citation
25   omitted)). And, the grand jury has returned a criminal indictment against Mr. Lischewski.
26   Cf. Gen. Elec. Co. v. Liang, No. CV 13-8670 DDP (VBKx), 2014 WL 1089264, at *4 (C.D.
27   Cal. Mar. 19, 2014) (denying motion to stay when no indictment had been returned). The
28   Court finds that the balance of factors tip in favor of applying the limited discovery stay

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                                                                                 15-MD-2670 JLS (MDD)
 Case 3:15-md-02670-JLS-MDD Document 1348 Filed 08/21/18 PageID.92720 Page 4 of 4


 1   order to all parties.
 2          The Court acknowledges that Mr. Lischewski was not a party to the stipulation.
 3   However, it is within this Court’s discretion to stay civil discovery whether or not Mr.
 4   Lischewski stipulated to the discovery stay. Accordingly, the Court OVERRULES Mr.
 5   Lischewski’s objections, (ECF No. 1322).
 6          IT IS SO ORDERED.
 7   Dated: August 21, 2018
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